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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                         :           CRIMINAL NO. 3:06CR194(JCH)
                                                 :
                                                 :
       v.                                        :           JULY 7, 2006
                                                 :
                                                 :
SYED TALHA AHSAN                                 :           TO BE FILED UNDER SEAL


                   LIMITED MOTION TO MODIFY SEALING ORDER

       The United States, out of an abundance of caution, respectfully moves to modify the

Court’s Order sealing the indictment in the above-referenced case for the following reasons. The

indictment in the above captioned case charges the defendant, Syed Talha Ahsan, with certain

terrorism related offenses. The government recently learned that the defendant, a British national

currently residing in London, whose extradition will be sought, has recently sought the return of

his passport from British law enforcement authorities and expressed an intention to leave the

United Kingdom with his family for Pakistan. Accordingly, the government has made efforts to

obtain a provisional arrest warrant and is also making efforts to post Red and Diffusion Notices

through Interpol. Out of an abundance of caution, and after consultation with U.S. government

representatives with Interpol, the government respectfully requests that the Court modify its

sealing order to allow and confirm that disclosure may be made to and by law enforcement

personnel, including foreign authorities, in connection with the performance of their duties, in

order to allow the dissemination of red notices and diffusions in connection with the efforts to

apprehend and arrest the defendant. The government requests that the indictment remain under

seal in all other respects. The government further requests that this motion and any

accompanying order remain under seal pending the defendant’s arrest as well.
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       The government will provide a copy of the instant motion to defense counsel upon the

defendant’s arrival for his initial appearance / arraignment in the District of Connecticut.


                                              Respectfully submitted,

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